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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION


DAVITA M. KEY,                         )
                                       )
           Plaintiff,                  )
                                       )
      v.                               ) CIVIL CASE NO. 2:19-cv-767-ECM
                                       )
DYNAMIC SECURITY, INC.                 )
                                       ) UNOPPOSED
           Defendant.                  )

     DYNAMIC SECURITY INC.’S MOTION FOR THREE-DAY
 ENLARGEMENT OF TIME TO FILE ITS REPLY AS TO ITS MOTION
 FOR RENEWED JUDGMENT AS A MATTER OF LAW AND MOTION
FOR THREE-DAY ENLARGEMENT OF TIME FOR PLAINTIFF TO FILE
    HER REPLY AS TO HER MOTION FOR EQUITABLE RELIEF

      COMES NOW Defendant Dynamic Security, Inc. (“Dynamic”) and requests

this Court grant a three-day extension of time for Dynamic to file its reply to

“Plaintiff’s Response in Opposition to Defendant Dynamic Security, Inc.’s Motion

for Renewed Judgment As a Matter of Law as to the Liability and Punitive Damages;

To Vacate, Alter or Amend the Judgment; or, Alternatively, for a New Trial Or

Remittitur of Emotional Distress and Punitive Damages” (hereinafter “Dynamic’s

Motion for Renewed Judgment as a Matter of Law”) (Doc. 206) and a three-day

extension of time for Plaintiff Davita Key to file her reply to “Defendant Dynamic

Security, Inc.’s Response to Plaintiff’s Motion for Equitable Relief of Reinstatement
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and Interest (hereinafter “Plaintiff’s Motion for Equitable Relief”). (Doc. 207).

Dynamic’s unopposed motion is based on the following grounds:

      1.      On April 26, 2023, Dynamic timely filed its Motion for Renewed

Judgment as a Matter of Law. (Doc. 197).

      2.      On June 27, 2023, Plaintiff timely filed her response in opposition to

this motion. (Doc. 206).

      3.      Defendant’s reply is currently due to be filed on or before July 5, 2023.

      4.      On April 25, 2023, Plaintiff timely filed Plaintiff’s Motion for

Equitable Relief of Reinstatement and Interest (Doc. 193).

      5.      On June 27, 2024, Defendant timely filed its response to this motion.

(Doc. 207).

      6.      Plaintiff’s reply is currently due to be filed on or before July 5, 2023.

      7.      Dynamic now seeks a three-day extension of time to file its reply to

Plaintiff’s Opposition to Dynamic’s Motion for Renewed Judgment as a Matter of

Law, which would move the filing deadline from Wednesday, July 5, 2023, to

Monday, July 10, 2023.

      8.      Dynamic likewise seeks a three-day extension of time for Plaintiff to

file her reply to Defendant’s Response to Plaintiff’s Motion for Equitable Relief,

Opposition to Dynamic’s Motion for Renewed Judgment as a Matter of Law, which




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would move the filing deadline from Wednesday, July 5, 2023, to Monday, July 10,

2023.

        9.    Dynamic seeks this extension due to office closures on the intervening

holiday and because undersigned counsel for Dynamic will be out of town and

unavailable the entire week of July 3, 2023, through July 7, 2023. Further, Plaintiff’s

counsel are out of the office attending the National Employment Lawyers’

Conference, returning to the office on July 5.

        10.   Undersigned counsel has communicated with Plaintiff’s counsel, who

stated that she agrees to an extension of both deadlines.

        11.   This brief extension of time will not prejudice any party or the Court.

                                        Respectfully submitted,

                                        /s/Susan W. Bullock
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                                        Susan W. Bullock
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                                               205-244-5904
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                                        Counsel for Dynamic Security, Inc.




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                           CERTIFICATE OF SERVICE
        The undersigned, an attorney, hereby certifies that on 29th day of June, 2023,

she electronically filed a true and correct copy of the foregoing with the Clerk of

Court using the CM/ECF System, and a true and correct copy to counsel of record:


        Heather Leonard
        Heather Leonard, P.C.
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        Counsel for Plaintiff


                                                     /s/ Susan W. Bullock
                                                     Of Counsel
WSACTIVELLP:14122016.1




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